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                                          16                                 UNITED STATES DISTRICT COURT
                                          17                            CENTRAL DISTRICT OF CALIFORNIA
                                          18                                 WESTERN DIVISION – Los Angeles
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                                          20 YUGA LABS, INC.,                               Case No.: 2:22-cv-04355-JFW-JEM
                                          21                      Plaintiff,                YUGA LABS, INC.’S NOTICE
                                                                                            FOLLOWING THE PRE-TRIAL
                                          22          v.                                    CONFERENCE REGARDING THE
                                          23 RYDER RIPPS, JEREMY CAHEN,                     REMAINING CLAIMS AND ISSUES
                                                                                            FOR TRIAL
                                          24
                                                         Defendants.
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                                               YUGA LABS’ NOTICE RE                                       CASE NO. 2:22-cv-04355-JFW-JEM
                                               CLAIMS AND ISSUES FOR TRIAL
                           Case 2:22-cv-04355-JFW-JEM Document 309 Filed 06/12/23 Page 2 of 3 Page ID #:21504




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                                               YUGA LABS’ NOTICE RE                      CASE NO. 2:22-cv-04355-JFW-JEM
                                               CLAIMS AND ISSUES FOR TRIAL
                           Case 2:22-cv-04355-JFW-JEM Document 309 Filed 06/12/23 Page 3 of 3 Page ID #:21505




                                           1           TO THE COURT, ALL PARTIES, AND COUNSEL:
                                           2           Please take notice that to streamline the issues for trial and following the Pre-
                                           3 Trial Conference held on June 9, 2023, Plaintiff Yuga Labs, Inc. (“Yuga Labs”)
                                           4 hereby gives notice that it withdraws its demand for a jury trial and requests that the
                                           5 Court decide all issues related to the remedies available to Yuga Labs on Claims 1
                                           6 and 3 of the Complaint (Dkt. 1). Given the Court’s factual findings (Dkt. 225) on
                                           7 Yuga Labs’ motion for summary judgment, Yuga Labs contends that it is most
                                           8 efficient for the Court to decide all issues related to the remedies available to Yuga
                                           9 Labs on Claims 1 and 3 during a bench trial or submission on briefing alone.
                                          10           To further streamline the issues for trial, Yuga Labs withdraws Claim 2 of the
                                          11 Complaint (Dkt. 1) for False Advertising in violation of the Lanham Act from the list
                                          12 of claims at Section 7 of the Proposed Pretrial Order (Dkt. 229-1) that it intends to
F ENWICK & W EST LLP




                                          13 pursue at trial.
                       ATTORNEYS AT LAW




                                          14
                                          15 Dated: June 12, 2023                       FENWICK & WEST LLP
                                          16
                                          17                                            By: /s/ Eric Ball
                                                                                            Eric Ball
                                          18                                            Attorneys for Plaintiff
                                                                                        YUGA LABS, INC.
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                                               YUGA LABS’ NOTICE RE
                                               CLAIMS AND ISSUES FOR TRIAL                 1                 CASE NO. 2:22-cv-04355-JFW-JEM
